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UNITED STATES DISTRICT COURT
DISTRICT OF CONNECTICUT
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GRADUATION SOLUTIONS LLC,

                                             Plaintiff,                  Case No.: 3:17-cv-01342-VLB

                  v.                                                     AFFIDAVIT OF JONATHAN B.
                                                                         NELSON
ACADIMA, LLC and ALEXANDER LOUKAIDES,

                                             Defendants.
----------------------------------------------------------------------


         I, Jonathan B. Nelson, Esq., am a resident of the State of New York, having

been duly sworn, state as follows:

         1.       I am over the age of eighteen (18) years of age.

         2.       I am a Partner at Dorf & Nelson LLP with an office at 555 Theodore

Fremd Avenue, Rye, New York 10580. My telephone number is (914)-381-7600. My

fax number is (914)-381-7608. My email address is jnelson@dorflaw.com.

         3.       I submit this Affidavit in support of Plaintiff’s request for an Order

granting default judgment against Defendant Acadima, LLC (herein “Acadima”).

         4.       On or about June 29, 2018, the parties in this proceeding appeared

before Your Honor via teleconference. After conferencing this matter, Your

Honor, inter alia, granted attorney Kathryn R. Sylvester’s motion to withdraw as

counsel for Acadima. Your Honor then instructed Acadima to substitute counsel

within thirty-five (35) days of receiving notice of the withdrawal.

         5.       Your Honor further determined that Acadima, as a legal entity and

not an actual person, can only appear by an attorney and it cannot appear pro se.




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      6.     Consequently, if Acadima did not substitute counsel as directed, it

would result in the entry of a default judgment against it for failure to prosecute.

      7.     Since the Court’s Order on June 29, 2018, Defendant Acadima has

failed to substitute counsel as directed, and is therefore in violation of this

Court’s directive.

      8.     Furthermore, in the alternative, Acadima has also defaulted in these

proceedings by failing to file and serve an answer in response to Plaintiff’s

Amended Complaint dated February 05, 2018, pursuant to Rule 12(a)(1) of the

Federal Rules of Civil Procedure.

      9.     At the September 19, 2018 status conference, I requested that

Plaintiff be permitted to proceed with a proposed default judgment due to

Acadima’s failure to substitute counsel as directed. Your Honor granted my

request.

      10.    A proposed Order for Default Judgment against Defendant Acadima,

LLC is annexed hereto as Exhibit A.




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      WHEREFORE, Plaintiff respectfully request that this Court grant an Order:

(a) for default judgment against Defendant Acadima, LLC for its failure to

prosecute, or in the alternative, (b) for a default judgment against Acadima, LLC

pursuant to Rule 55(b)(2) of the Federal Rules of Civil Procedure, and (c) for such

further relief as this Court may deem just and proper.

Dated:       Rye, New York
             October 3, 2018


                                      Respectfully Submitted,

                                      Graduation Solutions LLC

                                      By:

                                      ______________________________
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                                      Rye, NY 10580
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                                      Solutions LP d/b/a Graduation Source




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